  Case 4:23-cv-04127           Document 28-2         Filed on 09/16/24 in TXSD        Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHEN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


ATARAH MCCOY                                    §
                                                §
         Plaintiff,                             §
                                                §
vs.                                             §       CIVIL ACTION NO.: 4:23-CV-04127
                                                §       JUDGE CHARLES ESKRIDGE
                                                §
SHAULIS BOOKER AND                              §
TELAMON CORPORATION                             §
                                                §
         Defendants.                            §

         PLAINTIFF ATARAH MCCOY’S REQUESTED VOIR DIRE QUESTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

         Plaintiff Atarah McCoy hereby submits the following voir dire questions for consideration

by the Court:

      1. How many of you believe that a negative experience with the legal system in the past would
         lead you to begin the trial viewing the evidence in the case in a light more favorable to the
         Defendants?
      2. How many of you believe that, during jury deliberations, you would not be able to follow
         the Court’s instruction to set aside personal sympathy for the Plaintiff, the Defendants, or
         both, and decide the case solely based on the evidence admitted in Court?
      3. How many of you hold a strongly-held belief that you would not be not willing to file a
         lawsuit for personal injury damages on your own behalf, or on behalf of a family member,
         even if you believed strongly that you were harmed through no fault of your own, and even
         if you did not have any alternative?
      4. How many of you believe that you would require more than a preponderance of the
         evidence in order to find for the Plaintiff in this case, even if the Court instructs you that
         the preponderance of the evidence is the legal standard to be used during jury deliberations
         in this trial?
      5. How many of you believe that you could not and would not award a specific sum of money
         for pain and suffering damages, even if the preponderance of the evidence proved to you
         that awarding that specific sum of money is fair and reasonable?
      6. How many of you would require more than a preponderance of the evidence before you
Case 4:23-cv-04127      Document 28-2         Filed on 09/16/24 in TXSD     Page 2 of 3




   would consider including money for pain and suffering damages in the verdict form?
7. How many of you will require more than a preponderance of the evidence before you
   consider including money in the verdict form for damages that, in reasonable probability,
   the Plaintiff will sustain in the future, if any?
8. How many of you believe that you could not and would not award a specific sum of money
   for future pain and suffering damages, even if a preponderance of the evidence proved to
   you that the Plaintiff would, in reasonable probability, suffer pain and suffering in the
   future?
9. How many of you would require more than a preponderance of the evidence before
   considering including money for future pain and suffering damages in the verdict form?
10. How many of you work as a driver or for a trucking or logistics company, or have a close
    friend or family member who does?
11. Do any of you know Plaintiff’s experts?
       a. Dr. Remi Nader, MD, a neurosurgeon
       b. Dr. Donald Baxter, MD, an orthopedic surgeon
       c. Dr. Yan Michael Li, MD, an orthopedic surgeon
       d. Dr. Lorenzo Farolan, MD, a radiologist
       e. Dr. Aaron Filler, MD, a neurosurgeon
       f. Dr. Adam Locketz, MD, a life care planner
       g. Stan Smith, an economist
                                                Respectfully Submitted,

                                                DASPIT LAW FIRM

                                                /s/ Kiernan McAlpine
                                                Kiernan McAlpine
                                                Texas State Bar No. 24058519
                                                Fed. Bar No. 1132611
                                                440 Louisiana St. Ste 1400
                                                Houston, Texas 77002
                                                Telephone: (713) 322-4878
                                                Facsimile: (713) 587-9086
                                                Email: e-service@daspitlaw.com

                                                ATTORNEY FOR PLAINTIFFS
  Case 4:23-cv-04127        Document 28-2       Filed on 09/16/24 in TXSD       Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing instrument was served on all
counsel of record in accordance with Rules 21 and 21a of the Federal Rules of Civil Procedure on
September 16, 2024.

                                                                  /s/ Kiernan McAlpine
                                                                  Kiernan McAlpine
